                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

                                    )
UNITED STATES OF AMERICA,           )
                                    )
                                    )     No. 3:09-00047-001
                                    )     No. 3:16-cv-02623
vs,                                 )     CHIEF JUDGE CRENSHAW
                                    )
ADRIAN PATTERSON                    )
                                    )
________________________________________________________________________

                          MOTION TO CONTINUE
                  HEARING ON MOTION TO WITHDRAW PLEA

________________________________________________________________________

       Comes the defendant Adrian Patterson, by and through counsel, to file his

 Motion to continue Hearing on Motion to withdraw plea, and for good grounds would

 show the following:

       1.      On September 6, 2018, the Court entered an order setting a further

evidentiary hearing on Mr. Patterson’s motion to withdraw plea on January 11, 2019.

(DE 473)

       2.      Subsequently the Court entered an order transferring this case to U.S.

District Judge Richardson, who has this week recused himself. (DE 480)

       3.      In all prior orders, the hearing date of January 11, 2019, was not

changed pending further orders.

       4.      Counsel requests additional time to prepare for the hearing, including

additional time to obtain visitor logs and jail recordings.

       5.      AUSA Sunny Koshy has been contacted and has advised that he has no

objection to the request to continue.



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                                     Respectfully submitted,
                                     /S/ THOMAS J. DRAKE
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                                     NASHVILLE TN 37221
                                     615-320-1717
                                     DRAKE.COURT@THOMASJDRAKE.COM


                             CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been sent by ECF
to Sunny Koshy, Assistant United States Attorneys, 110 Ninth Avenue, South, Suite A-
971, Nashville, Tennessee 37203, and to G. Kerry Haymaker, 300 James Robertson
Parkway, Suite 306, Nashville Tn 37201, and by email to Kyle Mothershead, 414 Union
St #900, Nashville, TN 37219.

        on this 4th day of January, 2018.

/s/ Thomas J. Drake, Jr.
THOMAS J. DRAKE, JR.




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